
The Supreme Court affirmed the judgment of. the Common Pleas on the 18th February, 1884, in the following opinion:
Per Curiam.
That the parties to a suit may submit all matters at variance ' therein to referees and bind themselves by. an agreement that *420their decision shall be final and conclusive without the right of appeal is well settled; Rogers, et al. vs. Playford, 12 Pa. 181; McCahan vs. Reamy, 33 Pa. 535; Shisler vs. Keavy, 75 Pa. 79; Manhattan Life Ins. Co. vs. McLaughlin, 80 Pa. 53. The-evidence of the referees in this case shows that they kept within, the limits of the claims agreed to be submitted to them, and the-Court committed no error in striking off the appeal.
Judgment affirmed.
